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                              UNITED STATES DISTRICT COURT
                                         for the
                             EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA
                 vs.                              CASE/CITATION NO.3:             /h-rn_j -OCC>d.CJY\k:_
  Bo~-Q.J mo~,""Q..                                     ORDER TO PAY

SOCIAL SECURITY#:                                               -
DATE OF BIRTH: - - - - '
DRIVER'S LICENSE#: .~--..;'..:.:;-___ ;.·: - - , - - - - - -
ADDRESS:

                  CITY~·~---"""s'¥.=-A~T~E---z""IP"~c-o-oE


I UNDERSTAND THAT IF I MOVE PRIOR TO PAYING ANY FINE, RESTITUTION OR PENALTY
ASSESSMENT IN THIS CASE, I MUST NOTIFY THE ATTORNEY GENERAL OF THE UNITED STATES
IN WRITING WITHIN SIXTY (60) DAYS OF ANY CHANGE IN MY RESIDENCE ADDRESS OR MAILING
ADDRESS. FAILURE TO PAY COULD RESULT IN A WARRANT BEING ISSUED OR AN ABSTRACT
AGAINST MY DRIVER'S UCENSE OR VEHICLE BEING ISSUED.

I CERTIFY THAT ALL OF THE ABOVE INFORM

DATE:     3-d:;l-J k

YOU ARE HEREBY ORDERED TO PAY THE FOLLOWING:

~Fine: .:="'j-';k"'~£r;;7"'>
AMOUNT OF:
          $                     and a penalty assessment of $
                                 within
                                                                    2   s-                  for bBTAL
                                                       dayslmo[)111s; or P~tyments of$ /, 5() -per
month, commencing         - - I             and due on the       Tl f' S T     of each month until paid in
full.
( ) Restitution: - - - - - - - - - - - - - - -
( )      Community Service - - - - - - - - - - - - with lees not to exceed$ _ _ __
         completed by - - - - - - - - - - - -

PAYMENTS must be made by CHECK or MONEY ORDER, payable to:                   Clerk, USDC and mailed to
(circle one):

                                                                        CLERK,USDC
                                                                        501 "I" STREET
                                                                        SACRAMENTO, CA 95814-2322


Your check or money order must indicate your name and case/citation number shown above to ensure
your account is credited tor payment received.

Date:   3- d,d -J L                     __~~
                                          ._·._··....-c
                                                  _ _ _ _ _ __
                                        U.S. MAGISTRATE JUDGE


Clerk's Office



                                                                                                 EDCA-3
